       2:14-cv-13626-AC-RSW           Doc # 7    Filed 10/31/14      Pg 1 of 6    Pg ID 23



                             UNITED STATES of AMERICA
               U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN

AUNNA CHAMBERLAIN,


       Plaintiff,                                    DEMAND FOR JURY TRIAL


-vs-                                                 Case No. 14-13626
                                                     Hon. Avern Cohn



M & M CARS, INC.,

       Defendant.

              MOTION FOR ENTRY OF DEFAULT JUDGMENT AGAINST
                             M & M CARS, INC.

       The Plaintiff moves for entry of a default judgment against M & M Cars, Inc. as follows:

1.     The Complaint was filed on September 18, 2014, and the summons and complaint were

       served upon the Defendant, through its statutory agent for service.

2.     The Defendant’s agent for service received service of the Summons and Complaint on

       Friday, September 19, 2014.

3.     M & M Cars, Inc., a licensed automobile dealer, failed to answer, appear or otherwise

       defend.

4.     On October 13, 2014, Plaintiff applied for entry of Default against M & M Cars, Inc. and

       shortly thereafter, the Clerk of the Court entered its default under Rule 55(a).




                                                 1
        2:14-cv-13626-AC-RSW           Doc # 7    Filed 10/31/14     Pg 2 of 6    Pg ID 24



5.     Plaintiff spent $3,124.00 on a used vehicle. The dealer refused to transfer title to Plaintiff

       or pay the sales tax or license fees.

6.     When the Plaintiff refused to pay more than the amount agreed to in the finance contract, the

       dealer repossessed the vehicle.

7.     Plaintiff has set forth claims for damages under a variety of statutory and common law

       theories, and she requests the Court enter Judgment against M & M Cars, Inc. for the

       following damages:

       a.         Truth in Lending:

       The Plaintiff filed a meritorious claim for violations of 15 U.S.C. §1640 et seq. Under that

law, she is entitled to statutory damages of $2,000.00, actual damages of $3,124.00, and costs and

attorneys fees.

       b.         Fair Credit Reporting Act

       Defendant was required under 15 U.S.C. §1681m(h) to provide Plaintiff with a risk based

pricing notice, but failed to do so. Plaintiff is entitled to $1,000.00 statutory damages along with

costs and attorneys fees.

       c.         Magnuson-Moss Warranty Act

       Plaintiff is entitled to actual damages under this law in the amount of $3,124.00 along with

costs and attorneys fees.

       d.         Misrepresentation/Consumer Fraud/Cheating.

       In this case, the pleadings state a meritorious claim for Misrepresentation/Consumer Fraud.

Plaintiff asks for treble damages under the statutory conversion statute, MCL § 600.2919a.

Essentially, the Defendant stole Plaintiff’s car. She seeks damages in the amount of $9,372.00.


                                                 2
       2:14-cv-13626-AC-RSW           Doc # 7       Filed 10/31/14    Pg 3 of 6    Pg ID 25



8.     The total of these requested damages is $3,000.00 in statutory damages and $9,372.00 in

       actual damages for a total of $12,372.00 in damages.

9.     Plaintiff’s attorneys have accrued 12.9 hours @ $325.00/hour for an initial consultation,

       review of the materials, drafting and filing the complaint, and further communication with

       the client. In addition, there are $400.00 in costs for a filing fee. Plaintiff seeks $4,592.50

       in fees and costs.

       ACCORDINGLY, Plaintiff requests that the Court enter the attached Default Judgment

against M & M Cars, Inc. for Fraud, Cheating and Misrepresentation in the amount of $16,964.50.


                                              Respectfully Submitted,

                                              ADAM G. TAUB & ASSOCIATES
                                              CONSUMER LAW GROUP, PLC

                                              By:      s/ Adam G. Taub
                                                       Adam G. Taub (P48703)
                                                       Attorney for Aunna Chamberlain
                                                       17200 West 10 Mile Rd. Suite 200
                                                       Southfield, MI 48075
                                                       Phone: (248) 746-3790
                                                       Email: adamgtaub@clgplc.net

Dated: October 31, 2014
       2:14-cv-13626-AC-RSW          Doc # 7     Filed 10/31/14    Pg 4 of 6    Pg ID 26



                             UNITED STATES of AMERICA
               U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN

AUNNA CHAMBERLAIN ,


       Plaintiff,                                   DEMAND FOR JURY TRIAL


-vs-                                                Case No. 14-13626
                                                    Hon. Avern Cohn



M & M CARS, INC.,

       Defendant.

                           BRIEF IN SUPPORT OF
              MOTION FOR ENTRY OF DEFAULT JUDGMENT AGAINST
                             M & M CARS, INC.


       The pleadings are sufficient to allow this Court to enter an order for Fraud, Cheating and

Misrepresentation in the amount of $16,964.50 The Defendant, M & M Cars, Inc., was served and

its agent has acknowledged service and this dealership has decided to ignore the lawsuit.

       Under F.R.Civ P 55, when a party has failed to respond to a lawsuit, the opposing party may

seek a default judgment.




                                                4
       2:14-cv-13626-AC-RSW         Doc # 7      Filed 10/31/14   Pg 5 of 6   Pg ID 27



       ACCORDINGLY, Plaintiff requests that the Court enter Default Judgment against M & M

Cars, Inc., for Fraud, Cheating and Misrepresentation in the amount of $16,964.50.

                                           Respectfully Submitted,

                                           ADAM G. TAUB & ASSOCIATES
                                           CONSUMER LAW GROUP, PLC

                                           By:      s/ Adam G. Taub
                                                    Adam G. Taub (P48703)
                                                    Attorney for Aunna Chamberlain
                                                    17200 West 10 Mile Rd. Suite 200
                                                    Southfield, MI 48075
                                                    Phone: (248) 746-3790
                                                    Email: adamgtaub@clgplc.net

Dated: October 31, 2014




                                              5
       2:14-cv-13626-AC-RSW          Doc # 7       Filed 10/31/14   Pg 6 of 6    Pg ID 28



                                     Certificate of Service

       I hereby certify that on October 31, 2014, I electronically filed the foregoing paper and

any attachments with the Clerk of the Court and served this document on the following parties:


Party                                                 Manner Served
M & M Cars, Inc.
c/o Michigan Department of State,
Compliance Division, 3rd Floor
Treasury Building
430 W. Allegan Street
Lansing, MI 48918.



                                             Respectfully Submitted,

                                             ADAM G. TAUB & ASSOCIATES
                                             CONSUMER LAW GROUP, PLC

                                             By:      s/ Adam G. Taub
                                                      Adam G. Taub (P48703)
                                                      Attorney for Aunna Chamberlain
                                                      17200 West 10 Mile Rd. Suite 200
                                                      Southfield, MI 48075
                                                      Phone: (248) 746-3790
                                                      Email: adamgtaub@clgplc.net

Dated: October 31, 2014




                                                6
